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                             Appendix I

                        Witness Accounts
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 WITNESS ACCOUNTS

 The location of witnesses that stayed in greater New Orleans during Hurricane
 Katrina and which provided deposition testimony that was incorporated in this
 report are shown in Figures I-1 through I-3. The locations shown are where the
 witnesses stayed during the hurricane event and are placed in a location as
 accurate as can be determined from reviewing their testimony.




 Figure I-1: Location of Lower Ninth Ward witnesses located north of N. Claiborne
 Ave. and west of Caffin Ave.


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 Figure I-2: Location of additional Lower Ninth Ward and St. Bernard Parish
 Witnesses.




 Figure I-3: Location of Witnesses near the London Ave. and 17th Street Canals.




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 Testimony of Mr. Wilson Simmons:

 Mr. Wilson Simmons lived at the corner of N. Roman St. and Reynes St. on the
 north east corner of the intersection. He lived in a two-story home built on a slab.
 The witness reported:

           In the neighborhood of 5:30, 5 o’clock, 5:30, there was this
           booming sound. And the best way I can describe it to you is, I
           thought it was a transformer on one of the electrical poles probably
           just blowing out or something like that.

                                                           P 35 Line 21 – P 36 Line 1

 This noise was followed by the loss of electrical power. Shortly after hearing this
 boom, the witness reported:

           …after hearing that booming sound, my home became inundated
           with water within 10 minutes or so. My downstairs of my house
           flooded within 10 minutes.

                                                                        P 36 Line 3-7

 He reports that within 10 minutes of the water entering his home, his first floor
 was flooded to the ceiling. The witness went to an attic on the second floor and
 cut a hole in the roof of an attic above the first floor. Sometime later, he climbed
 onto the roof above his first floor. At this time, he reported “It was just at
 daybreak” (P 40 Line 12). Once on the roof, he claimed that he saw the barge,
 and that “it was clearly in the residential area” (P 45 Line 1-2) in the vicinity of
 Jourdan Ave. During the deposition, he opined that a catalyst was necessary for
 a levee failure, and speculated that the barge was that catalyst.

 Analysis:

 The timing of the first appearance of water (0500 to 0600) is similar to many
 other residents of the Lower Ninth Ward. Times provided by witnesses are
 subject to considerable uncertainty, however. Also, the term daybreak is open to
 much interpretation as the storm passing over would make it seem dark well into
 the day even though sunrise on the 29th of August 2005 technically occurred at
 0636 (6:36) A.M.1 While standing on the roof, the area where the barge ended
 up was about 1000 feet away. It is possible that the witness could see that far
 from his roof during the storm, although there is substantial proof and other
 accounts that the barge did not move once it hit the houses at Jourdan Ave. and
 N. Roman St. The barge could not have been present at 0530 or 0600 (5:30 or
 6:30 AM), in any event.


 1
     Source: US Naval Observatory.


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 Concerning a catalyst, the events at other levee breaches (London Ave. Canal,
 17th St. Canal) made it painfully clear that a levee or floodwall does not need a
 catalyst such as a barge to fail, and there were other failure mechanisms at work.

 Testimony of Mr. Terry Adams:

 Mr. Terry Adams lived on the corner of Deslonde St. and Law St. The house was
 a single story with a crawlspace. The witness woke at 0500 (5:00 AM) on the
 morning of August 29, 2005 and noticed “The carpet on the floor was wet” (P 18
 Line 1). He then climbed into the attic and onto the roof. The witness estimates
 that he climbed onto the roof about 20 to 30 minutes after noticing the water. At
 this time, Mr. Adams reported the water was ankle deep on his first floor. While
 on the roof, he testifies:

       I’d say somewhere between 5:30 and 6:00 the levee right by my
       house, the water was kind of like coming under it. I could see that.
       And a little over it. But the levee was still there. The levee was
       totally intact.

                                                      (P 23 Line 24 – P 25 Line 4).

 He claims that at 0600 (6:00 AM) he saw the barge hit the floodwall near the
 south breach site with a loud bang and he watched as the waters rapidly rose. “I
 knew it had to be a barge because wouldn’t nothing else be on the water” (P 24
 Line 18-20). After the barge entered the neighborhood, Mr. Adams reports:

       “The barge went in the neighborhood, and went toward Deslonde
       Street. It was like going toward Deslonde and Tennessee Street”

                                                                    (P 27 Line 3-5).

 The witness claims that his house started to float toward N. Claiborne Ave.
 Additionally, he stated that he could see the N. Claiborne Ave. liftbridge from his
 roof during the storm and that all of the trees in the way between his house, the
 N. Claiborne Ave. Bridge and the “most of the trees were stripped bare” (P 67
 Line 16). The witness claims that when the water from the south breach reached
 about Law St., the floodwall at the north breach gave way. Mr. Adams states that
 his house was washed off of its foundation and moved toward N. Claiborne Ave.

 Analysis:

 The account of this witness concerning the timing and sequence of the breaches
 is not in accord with what others have said. (For instance, the testimony is
 otherwise uniform that the north breach occurred first; and there is no doubt that
 this witness’s house was displaced by water from the north breach, as it was
 pushed to the south). The testimony also raises questions concerning timing,



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 visibility, and the witness’s perception of events. According to a line of sight
 survey by Gondalfo Kuhn, the witness was not at a vantage point where the
 south breach would have been visible. Darkness, rain, wind, and distance all
 militate against this account. The testimony does not overcome the objective
 wind, current and other evidence showing the sequence of levee breaches
 followed by the transit of the barge.

 Testimony of Ms. Carolyn Berryhill:

 Ms. Carolyn Berryhill lived on Deslonde St. between Roman and Prieur on the
 side closer to the IHNC. The house was a two story four-plex built on a slab.
 The witness claims that at about 0530 or 0545 (5:30 or 5:45 AM) “We all heard
 the grinding sound” (P 35 Line 4-5). This grinding noise lasted about five
 minutes. Sometime after this noise was heard water entered the first floor. This
 caused the witness to go to the attic. Once she was in the attic, the house
 collapsed and the roof floated away. The witness also heard an explosion she
 thought was a power box. (P 41). The roof eventually got hung up on a tree on
 Deslonde St. to the south. The witness then climbed into the tree to await
 rescue. The witness claims that at 0800 (8:00 AM) the wind and rain started to
 pick up. Elsewhere, she also stated that at 0800 conditions cleared up. She
 stated that it was impossible to see in the darkness until the sun came out. (P
 47). The witness did not see the barge come through the wall. (P 113-14). She
 did not see the barge until the eye of the hurricane had passed. (P53-54). She
 claimed that at 0800 she could see that barge, which was not moving. The barge
 is the only reason she can think of as to how the levee failed.

 Analysis:

 The source of the “grinding noise” is unknown, but a wind-blown barge or other
 object could not have caused this noise because the wind was blowing from the
 east toward the west at that time (0530 to 0545). The testimony regarding
 weather is not entirely consistent (clear at 0800, versus windy and rainy). It
 would have been difficult for the witness to be precise about times, having been
 in the attic, then in a collapsed house, and then in a tree. Even she recognized
 that visibility was impaired during the storm.

 Testimony of Ms. D’Antionette Johnson:

 Ms. D’Antionette Johnson lived on Deslonde St. between Tonti and Rocheblave
 on the side away from the IHNC. The house was a one story duplex with a
 crawlspace. Ms. Johnson lived in the front unit. On the morning of the 29th of
 August 2005, the witness was woken up by friends staying with her saying that
 there was water in the house. The witness says that she looked out the front
 door at about 0600 (6:00 AM) and saw water overtopping the floodwall along
 Jourdan Ave.. She described the overtopping as:




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       You have a cup of water, and just as the cup fills all the way to the
       top, if you drop an ice cube up in there, like some is going to come
       over the cup because it’s too much water.

                                                                 Page 34 Line 5-10

 Alternatively, Ms. Johnson described the overtopping as like a bath tub
 overflowing after a person gets into it after being filled to the brim (P 35 Line 9-
 14). As Ms. Johnson looked out of the front of her house, she claims that she
 saw:

       …Like a big old wave. I know it was tall. I would say at least, and I
       am not over-exaggerating, at least 15 or 20 feet.

                                                                 (Page 36 Line 1-5)

 Ms. Johnson clarified the position the wave was traveling:

       It was coming towards me.         It was coming, going towards St.
       Bernard Parish, Chalmette.

                                                               (Page 36 Line 12-14)

 She climbed into the attic and onto the roof to escape the rising waters. The
 witness believes it was approximately 0645 (6:45 AM) at this time. About an
 hour after getting on the roof, the house broke in half and started to float away.
 Ms. Johnson testifies “We floated more towards Florida Avenue” (P 47 Line 16-
 17). The house ended up on the corner of Rocheblave St. The witness claims
 that she saw bubbles rising from the base of the floodwall, “Like as if the
 concrete fell and then it made bubbles come up” (P 49 Line 4-6). She claims that
 once on her roof she could not see the floodwall to the north because her view
 was obstructed by trees. She reports that she could see to about Prieur St. when
 looking south. The witness states that she was not able to see the breaks in the
 floodwall while at the front door or while on the roof. At no time did she see the
 barge (P 49-50).

 Analysis:

 The water initially entering the witness’ home was likely the result of the north
 breach. The surge of water that later demolished her house and washed it
 northward could have been the result of the south breach. The timing of the first
 sighting of water is consistent with several other witnesses. Concerning the large
 wave in the canal, there is no reason a 15 to 20 foot wave would be present in
 confined, relatively shallow waters; this was a torrent of water unleashed from the
 south breach, perceived as a wave in the canal. Thus, possibly the witness saw
 the south breach occur, without participation by the barge. The account of water



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 overtopping the wall at 0600 (6:00 AM) is plausible due to possible uneven
 subsidence of the floodwall and high water levels.

 Testimony of Mr. Kendrick Pounds:

 Mr. Kendrick Pounds lived in the same home as the previous witness,
 D’Antionette Johnson on Deslonde St. between Tonti and Rocheblave. The
 witness lived in the rear unit but was in the front unit with Ms. Johnson during the
 storm. The witness claims that he woke up at 0550 (5:50 AM) on the morning of
 the 29th of August and noticed that “…it looked like a lake outside” (P 23 Line 13).
 He also stated “The house was shaking real hard, like an earthquake was
 coming or something” (P 24 Line 16-17). He claims that he was able to see a
 large hole in the floodwall at the approximate location of the south breach (P 25).
 He gives the size of the breach relative to reference points in the conference
 room that the deposition is being taken in. He also claims that he saw a smaller
 breach to his right where the north breach would have been. The witness reports
 that overtopping began at 0558 (5:58 AM, P 29 Line 21) and that overtopping
 was not occurring when he first looked out of the front door. As the water rose,
 the witness climbed into the attic and onto the roof. He claimed that daylight
 occurred when he climbed onto the roof and that about 10 minutes after climbing
 onto the roof, the house broke in half and was washed north. The hurricane
 finally passed at about 1500 to 1600 (3:00 to 4:00 PM). The witness never saw
 the barge and claims that the levees were blown up. Prior to Katrina the witness
 reports that he saw water accumulating at the base of the levee near N. Prieur
 St. He thinks that this may have been caused by a broken pipe. He did not see
 a barge at any point. (P 36-37; 133-34).

 Analysis:

 There are inconsistencies in this account, including the size and timing of the
 breaches. It is unlikely that the witness would have seen water flowing through
 both breaches from his vantage point. Also, the time was prior to civil twilight.
 The testimony does not suggest any involvement by a barge, however.

 Testimony of Mr. Arthur Murph:

 Mr. Arthur Murph lived on Jourdan Ave. between N. Roman St. and N. Derbigny
 St. The house was a single story and built on a slab. The witness reports that
 rain started on the evening of the 28th. On the morning of August 29th the power
 went out. The witness went to his garage to start his generator. During this time
 he reported that there were strong winds and rain. While walking down his
 driveway he heard a “rubbing and banging” (P 44 Line 20) noise and then noticed
 water flowing down Jourdan Ave. from the north. According to Mr. Murph, “It was
 coming down the street” (P 49 Line 12) and “it was coming fast” (P 49 Line 22).
 The witness then went back inside his house and climbed into his attic. When he
 noticed the water rising very slowly he descended from his attic and returned to
 the first floor for a while until the water started to become too high. He then


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 returned to the attic where he waited for what he thinks might have been several
 hours (P 151 Line 2-12). The witness eventually broke through his roof and
 climbed on top. Once on the roof, he turned around to look in the direction of the
 floodwall and observed the barge resting “On the front of the house” (P 60 L 2).
 He then swam to a neighboring two story house. Mr. Murph testified that he
 never heard the barge hit his house (P 60 Line 12-14). At the time this happened
 he reported that it was dark. This witness has cut the grass on the levee across
 from his house for some time and never noticed water accumulating at its base.
 When standing on the roof, he reports that water was flowing from north to south.

 Analysis:

 The water the witness reports flowing down Jourdan Ave. while he was standing
 in his driveway likely came from the north breach based on the time it took for the
 water took to rise. The source of the scraping noise is not known but would not
 have been a wind-blown object at this time of the morning, as the wind was
 blowing from east to west. Although the witness reported that it was still dark
 when he saw the barge and swam to the next house, he also noted it was
 several hours after the water had risen and he was in his attic. If the witness
 went out to start the generator at 0600 (6:00 AM) and then stayed in his home
 and attic for several hours, this could easily put the barge sighting after 0900
 (9:00 AM).

 Testimony of Mr. William Villavasso:

 Mr. William Villavasso was an employee of the New Orleans Sewerage and
 Water Board working at Pump Station 5 at the time of Hurricane Katrina. This
 station is located on Florida Ave. at the end of Jourdan Ave. and Deslonde St.
 The witness reports heavy rain at approximately 0300 (3:00 AM) but is not sure
 of what time it started. At some point, while looking out of the back door, the
 witness reported that he saw water splashing over the secondary levee behind
 the pump station. At about 0300 (3:00 AM) water was reported to be splashing
 over the IHNC floodwall. The witness looked out the switchgear room doors,
 which face west, and a strong wind ripped one of the doors off of its hinges.
 Shortly after looking out this door the witness heard a transformer pop and saw
 the IHNC floodwall toppled over near Florida Ave. The witness claims that he
 saw “what appear to be metal structure like a barge, only the tip of it. Couldn’t
 tell you I seen a whole barge, because I didn’t” (P 64 Line 21-24). He later
 claims “I seen the top part where it appears to be a piece of steel, what appeared
 to be a barge to me, and it was like from maybe a foot, foot and a half, two feet at
 the most” (P 202 Line 11-15). It was clarified that this one to two foot figure is
 what he could see of the object from top to bottom. Mr. Villavasso testified that
 the object never moved (P 97 Line 10-11).

 After seeing the break the witness reports that water began to rise rapidly in the
 Lower Ninth Ward. The witness called central control on a radio and told them to



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 cut power to his pump station because of the flooding. It was reported that
 central control log received this request at 0610 (6:10 AM) but the witness did not
 so testify.

 The witness reports that he saw a large wave “Coming from Southern Scrap
 towards the Florida Bridge, coming that way, going towards the Claiborne Bridge”
 (P 187, Lines 3-5). When this wave reportedly reached the floodwall in the
 vicinity of Florida Ave. the break occurred. The witness thinks he saw the object
 that he thought was the tip of a barge engulfed in this wave as it rushed toward
 the floodwall. However, the witness was nearsighted and was not wearing his
 glasses at that time. At the time the failure of the IHNC floodwall was observed
 the witness reported that the splashing over the wall had become more severe.
 The witness did not report seeing the sun until the next morning.

 Analysis:

 This witness testimony confirms that the north breach occurred before the south
 breach, and likely before 0600 (6:00 AM). The object that the witness reported to
 have seen could not have been the barge ING 4727 for several reasons, which
 are mentioned in the text of the report.

 Testimony of Mr. Ronald McGill:

 The witness lived on Reynes St. between N. Derbigny St. and N. Roman St. and
 the house faced away from the canal. The house was one story built on a
 crawlspace with a two story addition in the back built on a slab. The witness
 reports that he went outside at some point the night before Katrina and there was
 standing water from rain on the streets, but was shallow at that point. The
 witness reported that water first entered his house at about the time the power
 went off. He also heard a boom at this time (P 50) but did not know the cause (P
 72 Line 19-22). Mr. McGill went into his attic when water entered his house, then
 climbed onto the roof a short time after entering the attic. At some point, the
 house broke in half. The witness was picked up by boat around dawn and taken
 to the N. Claiborne Ave. Bridge. The witness heard a boom while he was in his
 house at about the time that flooding began. The witness saw the barge when
 he arrived on the N. Claiborne Ave. Bridge (P 60 line 13-15). The barge was on
 Jourdan Ave. The witness said that visibility was poor. (P 45 Line 4-8).

 Analysis:

 This witness did not provide much relevant information.              The witness
 remembered no approximate times that the events in question took place. Other
 than the fact that it was the south breach that ultimately broke his house in half,
 and that visibility was poor, there are no other observations that can be made
 from this witness’s testimony.




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 Testimony of Mr. Donald McCrosky:

 Mr. McCrosky was the plant manager of the Entergy Michoud power plant
 located along the combined MRGO / GIWW canal in New Orleans East. The
 witness had arrived at the plant the Sunday before Katrina made landfall and was
 tasked with preparing the facility for the coming hurricane. Throughout the time
 the witness was at the Entergy Michoud facility he took video and still photos of
 the hurricane event. The photos and videos provide a log of the storm surge in
 the MRGO / GIWW canal, wind, rain and general visibility during the storm. The
 witness states that at 0615 (6:15 AM) the wind was blowing from east to west (P
 42 Line 21-22). The wind direction later backed and took on a more west-east
 component. The photos and video taken by the witness show that it was not
 possible to see the south bank of the MRGO from the Entergy plant during the
 storm (P 44 Line 17-21).

 Analysis:

 The witness’ statements about the wind direction concur with data that was taken
 during the storm. This further shows that the winds could not have blown barge
 ING 4727 into the IHNC floodwall early in the storm. The south bank of the
 MRGO was approximately one quarter mile from the location where Mr.
 McCrosky took his photos and video. The fact that the south bank was not
 visible shows how poor the visibility was during the peak of the storm. The
 Entergy Michoud facility is approximately 5 ½ miles from the location of the
 Lower Ninth Ward breaches, meaning that it was close enough that the prevailing
 conditions such as wind and visibility would have been similar at both sites. Mr.
 McCrosky’s video and photos show that some witness’ claims that they could see
 events occurring a long distance away are unreasonable.

 Testimony of Mr. Earl Lackings:

 The witness lived on N. Miro St. between Reynes and Forstall. The witness was
 sitting in a car in front of his house with his brother when “We heard a big boom”
 (P 55 Line 19). The witness got out of the car and walked to the corner of
 Reynes and N. Miro (P 60 Line 2-4). The witness did not know the time of the
 booms. (P59 Line 9-23). After standing in that location for several minutes, the
 witness returned to the car. After returning to the car, the witness reported
 “…about five, ten minutes later, you know, water was coming all in the car” (P 61
 Line 15-17). The witness stated that “The water was coming down Reynes
 Street” (P 63 Line 3-4). Mr. Lackings reports that the water was flowing from the
 direction of Tonti St., which was located 1 block north of N. Miro (P 66). Upon
 seeing water, the witness went to his neighbor’s 2 story house where he
 gathered necessary items and immediately went to the attic. Eventually the
 witness broke through the roof. Mr. Lackings reported it to be daylight when he
 broke through the roof, and repeatedly stated that not a lot of time had passed
 between first seeing the water and breaking through the roof.



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 Analysis:

 The witness did not know what time any of the events he described occurred.
 Like many other witnesses, Mr. Lackings heard a loud boom. The water that was
 observed after hearing the boom would had to have come from the north breach,
 as it flowed south down a N-S oriented street. N. Miro St. was located north of
 the south breach, so water from the south breach would not have reached N.
 Miro St. by coming from the north. More time may have passed between
 entering the neighbor’s house and breaking through the roof than the witness
 had stated.

 Testimony of Ms. Dakeia Johnson:

 The witness lived on Lamanche St. between N. Miro St. and N. Galvez St. The
 house was located on the east side of Lamanche St. The witness “was thrown
 out of the bed” (P 35 Line 15-16) and heard “A big boom” (P 35 Line 21). Ms
 Johnson states that she heard one boom before being thrown from her bed, but
 that boom did not wake her up (P 36). Shortly after, at about 0600 to 0630 (6:00
 to 6:30 AM), the witness looked out of the kitchen window and observed water
 rising (P 45 Line 3-10). The water was observed to have been flowing from the
 direction of the canal (p 45 Line 18). The witness eventually climbed on the roof
 of a neighboring house that had floated off its foundation. The witness reported
 that it was sunny at the time she climbed on the roof of the neighboring house,
 which she thinks was 0700 to 0730 (7:00 to 7:30 AM). She said the weather
 worsened in the 0830 to 0900 (8:30 to 9:00 AM) timeframe.

 Analysis:

 The witness’ describes the boom as being more severe than other witnesses had
 reported. This witness lived approximately 2/3rd of a mile from the IHNC
 breaches, further than any of the other of the Lower Ninth Ward witnesses.
 Because of the witness’s statement that the boom felt more powerful than it felt
 to many people that lived closer to the breach, it is possible that the boom came
 from a source other than the breaches or that the witnesses in this house
 overstated the severity of the boom.

 Testimony of Ms. Patrina Peters:

 The witness was the mother of Dakeia Johnson and lived in the same house.
 Ms. Peters states that her home was built on a crawlspace. The witness woke at
 about 0500 (5:00 AM) on August 29th and watched television and started a pot of
 coffee. As Ms. Peters was about to return to the kitchen to get the coffee, she
 heard a loud boom which shook the house (P 61 Line 6). She reported that her
 daughter Dakeia was still asleep at this time. The witness goes on to testify:




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       And then like within about 10 minutes or so within that time, I heard
       the boom again. I heard the boom again. And at this time this
       boom, it shook everything, like the house was shaking. It was like
       an earthquake.

                                                                    P 61 Line 16-22

 This shaking was reported to have lasted about five minutes. Shortly after
 hearing the booms, Ms. Peter’s daughter noticed water outside. Ms. Peters fled
 to the roof of a neighboring house along with her daughter. She stated that she
 believes the levees were dynamited. (P43 Line 3 – P 44 Line 14). The witness
 did not see a barge at any time. (P 78).

 Analysis:

 Ms. Peters, like her daughter Dakeia who was present in the same house, states
 that the booms were very loud and violent, with severe and pronounced shaking.
 This description is not consistent with that of other witnesses. In any event, it is
 known that booms were heard at other breaches (17th Street and London Ave.
 Canals) where no barges were present.

 Testimony of Mr. Damond Peters:

 The witness had lived at the same house as his mother Patrina Peters and his
 sister Dakeia Johnson, but had evacuated the day before Katrina made landfall.
 The witness states that at 0530 (5:30 AM) on 29 August he received a call from
 his mother that she had heard a loud boom. He states that about a half hour
 after that call, he had received a second call from his mother where he was told
 she heard a second boom.

 Analysis:

 Mr. Peters’ testimony closely matches that of his mother’s experiences.

 Testimony of Mr. Andrew Sartin:

 The witness lived on N. Roman St. between Andry St. and Flood St. The house
 was on the south side of N. Roman. He says that he went to the N. Claiborne
 Ave. Bridge on Sunday evening and saw water “lapping right at the top” of the
 wall. (P 53 Line 3 – P 54 Line 4). The witness woke up on Monday the 29th of
 August at daybreak. He reported “It was raining. Wind blowing hard” (P 39 Line
 23) at that time. Mr. Sartin stood on his front porch “…they had a loud crash
 back, you know, back there by (Southern) scrap I heard” (P 44 Line 25 - P 45
 Line 2). He estimates the time of this noise as 0600 to 0630 (6:00 to 6:30 AM).
 But he says it was “already daylight.” P 45 Line 15-16). After hearing this noise,
 he saw “…a big ‘ole tidal wave coming down the street” (P 50 L 3-4). About 10 to



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 15 minutes (P 51 Line 17-20) after this, he heard a second noise from the
 direction of the Claiborne Ave. Bridge, which was louder than the first noise (P 50
 Line 22-23). After hearing this noise, the witness reports that the water rose to
 the ceiling in 30 minutes (P 57 Line 1). The witness said the winds were blowing
 from the direction of St. Bernard parish toward the IHNC on the morning of 29
 August. (P 41-42).

 Analysis:

 It is doubtful that water from the north breach would have arrived at Mr. Sartin’s
 house as quickly as his testimony would suggest. This water likely came from
 the south breach. If Mr. Sartin’s accounts are reliable, this would put the timing
 of the south breach at right around daybreak (~0630 to 0700). This is somewhat
 earlier than IPET and ILIT, but consistent with the testimony of Ernest Edwards,
 who said overtopping was taking place before then. The wind was blowing from
 east to west at that time as Mr. Sartin’s testimony states, and hence the barge
 could not have been involved.

 Testimony of Dr. Reed Mosher:

 Dr. Mosher is an employee of the US Army Corp of Engineers. The purpose of
 this deposition was to gain the Corp’s official opinion on what caused the failure
 of the floodwalls during Hurricane Katrina (as opposed to IPET, which was an
 independent investigation sponsored by the Corps. The witness attributes the
 south breach to overtopping and the north breach to an inadequate landside
 embankment. He states that the Corp concluded that the barge did not cause
 the breach. The witness also states that underseepage is unlikely to have been
 a cause of the south breach because of the results of their transient seepage
 analysis.

 Analysis:

 Dr. Mosher’s testimony closely matches the causes given in the IPET Report.

 Testimony of Mr. Ernest Edwards:

 The witness lived on Deslonde St. between Johnson and Galvez on the side of
 the street nearer the canal. The house was one story built on a slab. The
 witness went to the ramp over the floodwall to Surekote Road several times the
 night before the storm, the last time at about 0130 (1:30 AM) on the 29th. At this
 time the witness observed the water to be about 1-2 feet from overtopping the
 floodwall. He states that he saw a barge tied up across the canal at this time.
 The witness then drove his trailered boat to the Claiborne Ave. Bridge. At the
 time the witness arrived at the bridge, about 0145 (1:45 AM) (P 77 Line 10), the
 floodwalls “Hadn’t started topping” (P 77 Line 23). The witness reports




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 overtopping as starting at about 0245 (2:45 AM) (P 78 Line 4). Initially, Mr.
 Edwards reported that he could see the floodwall, but eventually

       … because it was raining so – It turned snow white. Couldn’t see
       out the truck anymore”
                                                            (P 78 Line 17-19).

 While on the bridge, the witness observed water “inching up and inching up” (P
 82 Line 9) on the Lower Ninth Ward side ramp, which forced him to move his
 truck up the bridge further. Mr. Edwards states “The first person I rescued was 7
 o’clock that morning” (P 84 Line 7-8). This person was rescued directly from the
 bridge; the witness had not launched his boat yet. He launched his boat at about
 0900 (9:00 AM) (P 86 Line 6). At some point during the night, two loud booms
 were heard (P 87 Line 17-18). The witness suggests he believes he saw the
 barge at about 0700 (7:00 AM) in the Lower Ninth Ward (P 89 Line 2).

 Analysis:

 The witness reports overtopping earlier than other sources, but for several
 reasons it is plausible that the floodwall was subject to considerable overtopping
 before the still water level reached the reported wall top height. The sighting of
 the barge at 0700 (7:00 AM) is too early as there was no way the barge could
 have been carried away from the Lafarge Terminal based on conditions at this
 hour – but based on the sequence as reported by this witness, regardless of the
 time of sighting it would have been well after the breaches occurred.

 Testimony of Mr. Wallace Rainey:

 The witness was a pump operator at pump station 5 in the Lower Ninth Ward.
 The witness reported strong winds throughout the day of the 28th and reported
 rain started sometime in the night. At some point, water entered the pump
 station and began to flood the motor pits, so a call was sent out the central
 control to cut power to the station. This was slightly before daybreak. The water
 was reported to have been coming from over the railroad tracks (Forty Arpent
 Levee) and down the pump station driveway (P 30). Mr. Rainey reported that the
 water flowing down the driveway looked “… just like, um – a fast river or
 something” (P37 Line 3-4). The witness never reported seeing water coming
 over the IHNC floodwall or witnessed the floodwall failure. Mr. Rainey testifies
 that no one had ever told him that they saw the floodwall collapse or that they
 had seen a barge hit the floodwall (P39 Line 20-25). The witness first saw the
 collapsed floodwall on Tuesday morning (P 41 Line 20).

 Analysis:

 The witness’s account matches that of Mr. Villavasso concerning the
 approximate timing of the power cut off (about daybreak). The witness never



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 saw anything resembling a barge and never heard Mr. Villavasso talk about his
 description of the floodwall failure.

 Testimony of Mr. Stephen Lentz:

 During Katrina the witness lived at 326 Tacoma Ave near the 17th Street Canal
 floodwall. The witness woke slightly before 0700 (7:00 AM) on 29 August and
 noticed that there was water in the streets that halfway submerged the wheels of
 his pickup truck. The witness was getting ready for work at some time between
 0730 and 0815 (7:30 and 8:15 AM) when he heard a loud boom. After hearing
 the boom, the water began to rise rapidly and the witness was driven into his
 attic. The witness reports that the boom noise came from the north. While in the
 attic, the witness used a hatchet to chop a hole in the roof. After two hours on
 the roof, the witness was rescued by a boat and taken to a higher commercial
 building. From the roof of this building the breach in the floodwall was visible. A
 strong current was reported as coming through the breach.

 Analysis:

 The witness heard a loud boom sound near a floodwall failure that no one
 attributes to a barge impact. The boom was likely the sound of the floodwall
 overturning and releasing a large torrent of water into a neighborhood. The
 booms heard in the Lower Ninth Ward were likely also caused by a failing
 floodwall.

 Testimony of Mr. Aaron Lee:

 The witness was returning to his home in Gentilly from a relatives home in St.
 Bernard. When the witness was driving on Mirabeau Ave. in the vicinity of the
 London Ave. Canal, he heard a loud boom. Immediately water started rising at a
 rapid rate.

 Analysis:

 The witness was immediately adjacent to the London Ave. Canal breach when
 the breach occurred. The failure of the floodwall is what caused the loud bang.
 This shows that loud booms were typical of all floodwall failures during Hurricane
 Katrina.

 Testimony of Mr. Gregory Campbell:

 The witness lived on Mirabeau Ave. in Gentilly during Katrina. At about 0900
 (9:00 AM) on the 29th, the witness heard a boom and saw water rushing down
 Mirabeau St.. The sound came from the London Ave. Canal.




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 Analysis:

 The boom heard by the witness was from the London Ave. Canal floodwall
 failure.

 Testimony of Ms. Jackie Campbell:

 The witness lived at the same Mirabeau Ave. home as Gregory Campbell. From
 the inside of her home, she heard a loud sound that sounded like an explosion.
 She then ran to a window and saw water flowing from the direction of the canal.
 About 20 to 30 minutes later, the water level had reached the first level of the
 house.

 Analysis:

 The boom heard by the witness was from the London Ave. Canal floodwall
 failure.

 Testimony of Ms. Marenthia Lagarde:

 The witness lived at 1815 Jourdan Ave. between N. Roman St. and N. Prieur St.
 She evacuated the day before Katrina. While watching TV at the hotel she was
 staying in, she claims to have seen video shot from a helicopter of the Lower
 Ninth Ward levee breaches, including the area where her house was located and
 where the barge ended up. She did not see the barge in the video, and believes
 the video was taken before the barge entered the Lower Ninth Ward.

 Analysis:

 If Ms. Lagarde had seen video footage taken on Monday morning prior to the
 barge arriving in the neighborhood, that would establish the breach occurred
 without the barge. Clearly, that is what she reported seeing. By the same token,
 Ms. Lagarde would have seen the video of the Lower Ninth Ward on late Monday
 or Tuesday. At that time, the barge would have been in the neighborhood.
 Either Ms. Lagarde is correct, in which case her testimony establishes that the
 breach occurred without the barge or she is mistaken, in which case her
 testimony reflects that eyewitness testimony is not definitive with respect to the
 event.

 Testimony of Mr. Robert Green:

 The witness lived on the west side of Tennessee St. between N. Roman St. and
 N. Prieur St. He was woken by his brother who noticed water in the house (P 88
 Line 3-4). At that time he did not know what time it was, but after the storm he
 spoke with a neighbor who was listening to the radio when she noticed the water.
 The radio indicated that it was about 0400 (4:00 AM) at that time, so Mr. Green



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 accepts this as the time the water was noticed. The water was about shin deep
 in Mr. Green’s bedroom when he was woken up (P 92 Line 16). After trying
 unsuccessfully to reach a 2 story house across the street, everyone in the house
 went to the attic and ultimately onto the roof. While on the roof, the witness
 believes he could see as far as Egania St. because of the conditions. The house
 floated off of the foundation and moved toward Claiborne Ave..

 Analysis:

 Mr. Green’s experiences are consistent with those of witnesses who lived close
 by. The initial water may have come from the north breach, while the flow of
 water that displaced the house from its foundation may have been the result of
 the south breach.

 Testimony of Mr. Kevin McFarland:

 The witness lived on Forstall between Claiborne Ave. and Derbigny St. The front
 of the house faced away from the canal. The witness woke at about 0600 (6:00
 AM) and noticed strong wind and heavy rain, but observed no water (P 45 Line
 25). He then laid back down in when he heard a loud boom (P 48 Line 18-20).
 The witness went to investigate the boom, but saw nothing so he laid back down
 again. Shortly later he noticed water entering his home. The witness then went
 to the attic and roof of a neighboring 2 story house.

 Analysis:

 The witness reports flooding later than many others, reflecting the overall
 uncertainty inherent in witness accounts, especially relating to timing. The
 witness never claims to have seen the barge before being brought to the N.
 Claiborne Ave. Bridge.

 Testimony of Mr. Alfred McRoyal:

 The witness lived on Wickfield Ave. in Gentilly, 1 block east of the London Ave.
 Canal near Prentiss Ave. On Monday morning, the witness was outside his
 house when he heard a boom from the south. Shortly after, he saw cars being
 pushed down the street sideways by water. The witness thinks the levee was
 blown up. The witness states that the cars were being pushed toward the lake.
 A second explosion was heard from the north, with the second one being louder
 than the first.

 Analysis:

 The witness lived well north of the London Ave. east floodwall failure. The first
 boom would have been the east failure. Water from the east breach would have
 reached Mr. McRoyal by traveling north. The London Ave. west breach was



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 much closer to Mr. McRoyal’s home. That explains the second boom being
 louder. Since Mr. McRoyal lived on the east side of the canal, water from the
 west breach did not affect Mr. McRoyal to a large degree, as he was already
 flooded from the east breach.

 Testimony of Mr. Richard Riess:

 The witness was a pump operator at the OP-5 pump station on Florida Ave.. Mr.
 Riess states that the floodwall was visible from the pump station when the wind
 and rain were not strong. At about 0600 to 0615 (6:00 to 6:15 AM) Mr. Riess
 was alerted by Mr. Villavasso about water rushing down the pump station
 driveway (P 53 Line 15-20). Eventually, Mr. Riess noticed that water was coming
 from the direction of the IHNC (P 56 Line 25). The witness reports that water
 started to enter the pump station about 35 to 40 minutes after first noticing the
 water flowing from Southern Scrap (P 57 Line 19). Power was believed to be lost
 at about 0300 to 0400 (3:00 to 4:00 AM), but not the 25Hz power for running the
 pumps (P 49 Line 3-7). Mr. Riess states that William Villavasso never told him
 anything about a barge hitting the floodwall or seeing the wall fail (P 52).
 Villavasso is the one that alerted Mr. Riess that there was flooding outside, and
 that was about 35-40 minutes before water flooded the pump station at 0615
 (6:15 AM) (P 53). Mr. Riess did not see a wall of water in the canal (P 54 Line
 15-16).
 Analysis:

 As was shown in William Villavasso’s deposition, the request for switching off 25
 cycle power to station OP-5 was received at 0610. Given this, Mr. Riess’
 account of water entering the pump station about 35 to 40 minutes after noticing
 the water flowing from Southern Scrap puts the sighting of that water about a half
 hour before he stated in his deposition. On many issues, Mr. Riess’ testimony
 closely matches that of William Villavasso, with the exception of claiming to have
 seen a barge wedged in the floodwall break. This testimony puts the occurrence
 of the north breach at about 0530.

 Testimony of Ms. Arcola Sutton:

 The witness lived on Jourdan Ave. between Law St and Dorgenois. Ms. Sutton
 was watching TV early Monday morning when she heard a loud boom that shook
 the house. She believes this occurred at about 0505 (5:05 AM) (P 74 Line 9).
 Shortly after hearing the boom, water started to enter the witnesses house (P 76
 Line 1), which was built over a crawlspace. Ms. Sutton let her friend who was
 staying with her out the front door. The friend then climbed on top of the roof.
 Ms. Sutton says that it was not dark at this time (P 83 Line 19). She then went
 into the attic and onto the roof. At that time, it was raining very hard and Ms.
 Sutton “Couldn’t see nothing” (P 94 Line 14). She never saw the levee break (P
 100 Line 7), and never saw the barge (P 108 Line 5).




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 Analysis:

 There is a conflict when Ms. Sutton says that she heard the boom at 0505 (5:05
 AM) and when a few minutes later she said it was getting to be daylight when
 she let her friend out the front door. Daylight would have been more than an
 hour after the boom was reported. Ms. Sutton however never saw a barge until
 returning to the neighborhood after it was dried out.

 Testimony of Ms. Joy Davis:

 The witness lived on Allen St. about 4 blocks south of Mirabeau Ave. Allen St.
 runs parallel to the London Ave. Canal about 3 blocks east of the canal. Water
 started to enter the house sometime after daylight. The water was coming from
 the north (Mirabeau Ave. direction). Just before the water came, a loud boom
 was heard. Within 30 minutes of hearing the boom, the first floor of the house
 had flooded.

 Analysis:

 Miss Davis’ testimony closely matches that of other witnesses near the London
 Ave. Canal, where a boom was heard despite no barge being involved.

 Testimony of Ms. Debra Blackwell:

 The witness lived on Wickfield Ave. between Prentiss and Burbank. While
 talking on the phone, a loud boom was heard. 20 minutes later, water entered
 the house.

 Analysis:

 Ms. Blackwell’s testimony closely matches that of other witnesses near the
 London Ave. Canal, where a boom was heard despite no barge being involved.

 Testimony of Mr. Glenn Cross:

 The witness lived on Carnot St. between St. Anthony and Annette. At 1000 –
 1030 (10:00 to 10:30 AM), the witness went outside to check damage. The
 witness went inside, then into the back yard some time later when he heard a
 boom. After hearing the boom, the witness and his friend started to walk toward
 Mirabeau to investigate the boom. Immediately, they were faced with water
 coming down Annette St. from the north. The witness ran back to his house and
 watched the water gradually rise. The water took several hours to begin to flood
 the house, which was raised off of the ground.




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 Analysis:

 The witness reports water rising slower than other witnesses at the London Ave.
 breach. This may be because he lived to the south on slightly higher ground
 than to the north, where most of the water flowed. The boom noise is consistent
 with the other witnesses at the same breach site.

 Testimony of Mr. Arthur Foley, Sr.:

 The witness lived on Van Ave., on the west side of the London Ave. Canal and
 several blocks south of Mirabeau Ave. The witness was woken on Monday the
 29th by a boom sound. He reported that it was daylight at this time. About 1/2
 hour passed between hearing the boom and having water enter the house.

 Analysis:

 It is not clear what floodwall failure was associated with the boom heard by Mr.
 Foley, but the water probably came from the London Ave. west breach. Mr.
 Foley is consistent with the other witnesses when he heard the boom.

 Testimony of Ms. Lula Watson:

 The witness lived in the same house on Van Ave. as Arthur Foley. Ms. Watson
 was woken up at 1330 or 1400 (1:30 to 2:00 PM) by Arthur Foley, and at that
 time there was water in the house. The witness reports having heard a boom at
 about 0200 or 0300 (2:00 to 3:00 AM), at the same time that a tree fell on the
 house. The witness went to the attic after water entered the house.

 Analysis:

 It is not likely that Ms. Watson heard the boom associated with the floodwall
 failure at 0200 to 0300 (2:00 to 3:00 AM), as that was far too early for the breach
 to occur. But the hearing of a boom at a breach with no barge present is
 consistent with others’ testimony.

 Testimony of Ms. Helen McNeal:

 The witness lived on Van Ave. immediately to the west of the London Ave. Canal.
 On the morning of the 29th, the occupants of the house went outside to inspect
 for any possible damage. They noted that there was water accumulated in the
 street at that time. After inspecting the house, a boom was heard. Water than
 started to rise much faster, and the witness made her way to the attic.




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 Analysis:

 Ms. McNeil’s testimony closely matches that of other witnesses near the London
 Ave. Canal.

 Testimony of Mr. Raymond McNeal:

 The witness lived on Van Ave. in the same house as Helen McNeal. Mr. McNeal
 was outside inspecting damage in the morning of the 29th when he heard a
 boom, described as like a sonic boom. After hearing the boom, the witness went
 back inside the house. Water then entered the house. The witness observed the
 water to be flowing from the north.

 Analysis:

 Water coming from the north would have originated at the London Ave. west
 breach, which was at the far north end of the canal. The west breach was about
 1.3 miles from Mr. McNeal’s home, while the east breach was one-half mile
 away. If any breach was heard, it was more likely the east breach. Other details
 closely match those of other witnesses.

 Testimony of Mr. Darion Hunter:

 The witness lived on Wallace Drive, south of Mirabeau Ave. on the east side of
 the London Ave. Canal. He was inspecting damage on the 29th of August, when
 he heard what he describes as four consecutive explosions. The witness was
 walking up Annette St. near Brutus when he heard the booms. Before hearing
 the booms, Mr. Hunter observed that there was water in the streets. Once the
 booms were heard, the water rose very quickly.
 Analysis:

 Mr. Hunter’s testimony closely matches that of other witnesses near the London
 Ave. Canal.

 Testimony of Mr. Jerome Aguillard:

 The witness lived on Brutus St. in Gentilly one block south of Mirabeau Ave. and
 one block east of the London Ave. Canal. The witness went outside the morning
 after the hurricane when he heard a muffled boom. Water entered the house
 about 30-40 minutes after the boom was heard. Mr. Aguillard reports that the
 water was coming from the north.

 Analysis:

 Mr. Aguillard’s testimony closely matches that of other witnesses living near the
 London Ave. Canal.



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 Testimony of Ms. Sarah Price:

 The witness lived on Chatham Drive on the west side of the London Ave. Canal.
 On the morning of the 29th, the witness heard a boom, and shortly after water
 started to flood the ground outside.

 Analysis:

 Ms. Price’s testimony closely matches that of other witnesses living near the
 London Ave. Canal.

 Testimony of Mr. Kenneth Henderson:

 The witness was a St. Bernard Parish Council member and was at the St.
 Bernard Government Complex at the time of Katrina. The weekend before the
 hurricane made landfall, Mr. Henderson and others traveled to the MRGO to
 monitor the conditions and water levels. As the hurricane approached, an
 access road on the water side of the MRGO levee was observed to be flooded.
 At about 0900 or 1000 (9:00 or 10:00 AM) Monday morning, the Sheriff
 substation in Arabi called the St. Bernard Government Complex and informed
 that the substation was taking water. Shortly thereafter, water was noticed on
 the streets outside of the government complex. By about 1100 (11:00 AM), the
 water in the first floor of the building was 4-5 feet deep.

 Analysis:

 The witness describes flooding that occurred without the strong flow that
 occurred near the breaches.
 Testimony of Ms. Polly Boudreaux:

 The witness was at the St. Bernard Parish Government complex during Katrina.
 Ms. Boudreaux observed water rise outside of the building before entering the
 first floor. Ultimately, she was forced to the second floor.

 Analysis:

 The witness describes flooding that occurred without the strong flow that
 occurred near the breaches.

 Testimony of Ms. Marie Benoit:

 The witness lived on Deslonde St. at Rocheblave St. The house was on the
 canal side of Deslonde. Ms. Benoit evacuated the Sunday before Katrina, and
 as such did not witness anything.




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 Analysis:

 Ms. Benoit was not present during the storm, and had no relevant information to
 add with respect to this investigation.

 Testimony of Mr. James Ruiz:

 The witness lived on Lebeau St. in Arabi. The house was one story and raised
 about three feet off of the ground. At 0915 (9:15 AM), Mr. Ruiz received a call on
 his cell phone telling him to look outside (P 18 Line 7), and there was water on
 the street and in his yard about 2 feet deep (P 19 Line 2). Within about 35
 minutes, water came into his house and rose 6 to 7 feet deep (P 19 Line 9). At
 the time the flooding started, the witness reported strong winds coming from the
 north-west (P 53 Line 6). The witness thinks the water was flowing from the
 west.

 Analysis:

 Mr. Ruiz’s statements concerning the wind seem to be quite accurate for that
 time, which was well after the IHNC breaches occurred. Because he lived a
 distance away from the breaches, he experienced only rising water and not the
 effects of rushing water.

 Testimony of Ms. Sally Ann Jones:

 The witness lived on Mehle St. in Arabi. The house was a raised one story. At
 about 0630 (6:30 AM), the witness observed a few inches of water in her
 driveway. At 0810 (8:10 AM), the witness reported looking out the front window
 and seeing a “tidal wave” (P 29 Line 21) heading for the house. Shortly
 thereafter, the water entered the house and rose rapidly.

 Analysis:

 It is not expected that a witness living so far from the breaches would see a large
 wave moving down the street. A large wave would have created more damage
 than was present in the southwest corner of St. Bernard Parish.

 Testimony of Mr. Christopher Weaver:

 The witness was living on Jourdan Ave. between Florida Ave. and Law St. He
 woke up about 0500 to 0530 (5:00 to 5:30 AM) on the morning of the 29th. At this
 time, Mr. Weaver testifies:

       … when I stepped out of bed, they had – the floor was wet. They
       has a little water in the house and first thing came to my mind the
       toilet or something was running over. I opened the bedroom door, I



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       could see the water in the house and I went looked out the window.
       I saw the water topping over the levee.

                                                               Page 82 Line 12-18

 Mr. Weaver repeatedly affirmed that water was overtopping the floodwall at 0500
 – 0530 9 (P 85). After escaping from his house through a window and climbing
 onto the roof, Mr. Weaver noticed “the levee got a big hole in it” (P 88 Line 8-9).
 After escaping from the house, a large rush of water came (P 89). The witness
 never saw the barge at either breach site (P 132 Line 1-5). He also admits that
 he would not have been able to see the south breach location from his house (P
 142 Line 6-11). Mr. Weaver stated that in the past, he had seen water
 accumulating near the levee (P 158 Line 18-21).

 Analysis:

 Mr. Weaver’s testimony closely matches that of Terry Adams in certain respects
 but not others. Both witnesses describe flooding before their houses were
 washed away. This supports the theory that the north breach failed in stages,
 rather than letting go all at once. Mr. Weaver never saw a barge, despite looking
 at the floodwall in the vicinity of the north breach. Mr. Weaver’s statements
 about visibility and viewing the south breach site do not match Terry Adams’
 claim that he saw the barge strike the floodwall at the south breach site.

 Testimony of Ms. Dolores St. Cyr-Butler:

 The witness lived on N. Johnson St. on the corner of Choctaw St. The house
 appears to be a raised one-story home with a 2-story addition built on a slab in
 the back. At some point on the morning of the 29th, an upstairs window was
 blown out of Mrs. Butler’s house. When this happened, she went to the garage
 to get a sheet of plywood to cover the window. She testifies:

       When I got down in the garage, I heard boom, boom, boom, and
       then the water came in. And when the water came in, it came up
       so fast that by the time I ran upstairs, I was looking for my husband,
       and he was pulling himself up behind me, and he said – I told him, I
       said, baby, that water is coming in. He said, yeah. He said I
       almost couldn’t make it up the steps.

                                                                 Page 32 Line 8-16

 The witness states the water rose very fast after first arriving. After the water
 rose above the second floor, the witness went to the roof, and was rescued two
 days later and brought to the St. Claude Ave. Bridge. She never saw the barge
 during this time.




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 Analysis:

 Mrs. Butler’s home was likely flooded by water coming from the south breach,
 judging by the location and how fast it flooded. Her testimony is similar to Wilson
 Simmons in how fast the flooding occurred. Mrs. Butler does not remember what
 time the flooding occurred.

 Testimony of Mr. Sidney Williams:

 The witness lived on Tennessee St. between Derbigny and N. Roman St. The
 house was on the west side of Tennessee St. The witness states that he woke
 up at about 0230 (2:30 AM) Monday morning when his generator stopped
 running because “the water had done got to it” (P 34 Line 20-21). He estimates
 that when he looked out of the door at this time, the water was about 2 feet deep
 (P 36 Line 22-23). The witness went to the attic, then heard three booms a few
 seconds apart (P 45-46). He looked out of a hole in the rood and claims to have
 seen the barge hitting the floodwall (P 45 Line 18-21). A rush of water washed
 Mr. Williams’ house away, and he eventually climbed onto the roof of another
 house.

 In a second deposition, it is pointed out that Mr. Williams gave a previous
 statement to investigators that he did not see the barge until later in the morning,
 and he did not see the barge hit the wall. The witness, in the second deposition,
 stood by his first deposition testimony that he saw the barge hit the floodwall,
 even though he admitted having given the prior recorded statement saying the
 opposite was true. Other people living in the same house as Mr. Williams did not
 see the barge hitting the floodwall when interviewed by the investigators. Mr.
 Williams also says that the only part of the barge that was sticking above the
 floodwall was the covers. The witness also admits that his times may not be
 accurate.

 Analysis:

 Mr. William’s account of water at 0230 (2:30 AM) is too early and does not match
 with other witnesses. It is likely that this happened several hours later. In light of
 the previous interview, Mr. Williams statement that he saw the barge hit the
 floodwall does not seem to be credible. In addition, Mr. Williams’ account of
 having seen the barge is contrary to the laws of science for the reasons state in
 this report. Further, if the barge was on the canal side of the wall, and only the
 hatch covers were protruding above the wall crest, the barge would not have
 been able to strike the floodwall, as its depth would had to have extended below
 ground level when it was adjacent to the wall.




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 Testimony of Mr. George Cavignac:

 The witness was a St. Bernard Parish Council member and a railroad police
 officer. He evacuated during the storm, and returned later the same week to
 perform duties for his employer. At this time, he saw the barge stranded in the
 Lower Ninth Ward.

 Analysis:

 Because Mr. Cavignac evacuated, he did not have any experiences with the
 storm itself.

 Testimony of Mr. Frank Auderer:

 The witness was a St. Bernard Parish council member and was at a shelter at St.
 Bernard High School during Katrina. Sometime early Monday morning, a call
 was received that water was present in the surrounding areas, and that they
 should move to the second floor of the school. After daylight, water started to
 enter the school.

 Analysis:

 Mr. Auderer’s experiences are typical of those in St. Bernard Parish and do not
 provide an insight into timing or causation of the breaches.

 Testimony of Mr. Paul Best:

 The witness lived on Colbert St. between Walker St. and Mouton St. The house
 was on the east side of Colbert St., Facing the 17th Street Canal. At daybreak on
 29 August, the witness reported squall conditions, with heavy rain and strong
 winds. At 0830 to 0900 (8:30 to 9:00 AM), The witness observed water starting
 to accumulate in the streets, and he believes that this was rain water. Sometime
 after 0900 or approximately at 0930 (9:00-9:30 AM), the witness heard a boom
 that he thought sounded like dynamite. About 15 to 30 minutes after hearing the
 boom, the witness looked out his front window and saw a small wave of black
 water coming toward his house. After the wave came, the witness reports that
 the water rose about a foot every half hour, and continued rising until the entire
 first floor of his house was submerged.

 Analysis:

 Mr. Best’s testimony is consistent with that of Stephen Lentz in that water was
 observed covering the streets earlier in the morning followed by booms and then
 more severe flooding. Mr. Best reports that the booms happened later than
 reported by Mr. Lentz, but the times given by witnesses should be taken as
 approximate.



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 Testimony of Mr. George Brooks

 The witness lived on St. Claude Ave. on the corner of Charbonnet St. in the
 Lower Ninth Ward. The house was on the north side of St. Claude. The witness
 states that he woke sometime after daylight and went downstairs and outside for
 a moment. At this time he reported that there was strong wind and heavy rain (P
 55 Line 11), but no water accumulation yet. He then returned to the second floor
 of his home. Sometime later in the morning Mr. Brooks went back downstairs
 and noticed that the streets outside were flooded (P 64 Line 7-9). Within two or
 three minutes of seeing the water outside, the water had entered the first floor of
 his house (P 69 Line 12). The witness heard what he described as a screeching
 sound or an explosion (P 75), but does not remember at what time that occurred.

 Analysis:

 Mr. Brooks lived well south and inland of either of the IHNC east floodwall
 breaches, and on somewhat higher ground. This can explain his testimony that
 the water did not arrive until well after daylight, while witnesses north of N.
 Claiborne Ave. observed flooding much earlier. It is possible that the sound
 heard by Mr. Brooks was an electrical transformer explosion; from his testimony
 it appears to have happened too late to have been associated with a floodwall
 breach.

 Testimony of Mr. Mark Madary:

 The witness was a St. Bernard parish Council member and was at the St.
 Bernard Government Complex during Katrina. During the storm, at about 0730
 to 0800 (7:30 to 8:00 AM), he left the complex with a National Guard member to
 conduct a rescue, but the truck drove into water that was too deep and the two
 men had to seek refuge on the roof of a nearby commercial building. He reports
 that the water that they ran into was coming from west to east. The truck
 became inundated on Judge Perez Dr. between Rowley Blvd. and Perrin Dr,
 which is approximately 0.8 miles east of the St. Bernard Government complex.
 Several days after Katrina, the witness took a helicopter tour of the flooded areas
 and noticed the barge in the Lower Ninth Ward.

 Analysis:

 Like other witnesses at the St. Bernard Government Complex, Mr. Madary
 reports that there was no water at daybreak. By that time, the Lower Ninth Ward
 near the breaches had been completely flooded. The water that the truck ran
 into when going west on Judge Perez Dr. would have come from the IHNC
 breaches.




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 Testimony of Ms. Towonda Schexnayder:

 The witness lived on Jourdan Ave. between N. Villere St. and Urquhart St. The
 house was on the west side of Jourdan Ave. The house was one story raised a
 few feet off of the ground. At about 0300 (3:00 AM) Monday morning, the
 witness reports hearing:

       A screeching noise. It was like a knocking.

                                                                       P 45 Line 6-7

 At this time she states that the wind and rain were heavy. The witness looked
 outside frequently throughout the night (P 45 Line 25), and at one point noticed
 that there was water in the streets and it appeared to be rising (P 45 Line 2). The
 water entered the house a short time later (P 46 Line 7). The witness surmised
 that the screeching sound was the barge rubbing against the floodwall (P 50 Line
 17-20), but admitted that she did not see the barge (P 51 Line 14). After the
 water entered their house, the occupants climbed onto the roof through a hole in
 the attic. She thinks that she climbed on the roof by 0400 or 0430 (4:00 or 4:30
 AM). At this time she reported that it was relatively calm, with a light drizzle and
 light winds. While on the roof the witness stated that she could barely see the N.
 Claiborne Ave. Bridge because of the weather conditions (P 61 Line 13), but she
 reports seeing the barge on Jourdan Ave from her roof at approximately sunrise.

 Analysis:

 The witness lived approximately 0.35 miles from the south breach / barge site,
 and approximately 1 mile from the north breach site.                 Because Ms.
 Schexnayder’s home was closer to the river, the ground elevation was a few feet
 higher than near the south breach. Ms. Schexnayder’s testimony that the
 flooding began in the 0300 to 0330 time frame is early and precedes the flooding
 observed by witnesses at both the north breach and south breach site by several
 hours. In all likelihood, the flooding occurred several hours after reported by the
 witness. The screeching noise could have been something to do with the wind,
 but the witnesses conclusion that it was the barge scraping against the floodwall
 is unfounded; there is simply no way that the barge could be in the vicinity of the
 floodwall that early. The barge could not have been on Jourdan Ave. at sunrise.
 However, it could have been there three hours after the flooding started, as Ms.
 Shexneyder reported, if one adjusts for the errouneous breach time she reported.

 Testimony of Mr. Arthur M. Anderson, Jr.:

 The witness lived on Jourdan Ave. between N. Villere St. and Urquhart St. The
 house was on the west side of Jourdan Ave. The house was one story and
 raised about three feet off of the ground. In the early morning, the witness
 reported:



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       Well, after the wind picked up, and by it being real silent around
       there, I could hear like a clashing sound every now and then, which
       I didn’t pay no attention to it.

                                                                 Page 69 Line 1-5

 The witness reported that this noise was intermittent over several minutes (P 69
 Line 17) and believes that it was coming from the north (P 70 Line 5). After
 daylight, by which time the witnesses had climbed on top of his roof, he claims to
 have seen the barge sitting on Jourdan Ave. to the north (P 74 Line 2). At some
 point in the morning, the witness’ car alarm went off (P 84 Line 3). This caused
 the witness to look outside and notice that there was water in the streets and the
 car’s trunk had opened. Mr. Anderson went outside to close the trunk. The
 witness estimates that 25 minutes (P 95 Line 14) after hearing the car alarm, he
 fled to his attic where he stayed for about three hours (P 96 Line 5) before
 breaking out onto his roof. At this time, it was daylight and the witness reported
 seeing the barge on Jourdan Ave (P 103 Line 22).

 Analysis:

 Mr. Anderson lived next door to his daughter, Towonda Schexnayder, so they
 would have experienced similar incidents at the same time. The earliest that the
 barge could have been in the Lower Ninth Ward is about 0900 (9:00 AM).
 According to Mr. Anderson, he first noticed water approximately 3 and one half
 hours before climbing on his roof and seeing the barge. This would place the
 arrival of the water at 0530 (5:30 AM) at the earliest. This timeframe is
 reasonable considering other Lower Ninth Ward witnesses, not withstanding Ms.
 Schexnayder who reported water at about 0300 (3:00 AM), which is far too early,
 especially for the area in which she lived. The three and one half hour time lag
 between the flooding and the barge sighting is reasonable.

 Testimony of Mr. Arthur Anderson III:

 The witness was living in the same house as his father, Arthur Anderson, Jr. Mr.
 Anderson was alerted by his father that there was water outside, but does not
 recall at what time this was. He seems to think that it was around the transition
 between night and daylight (P 44 Line 17). When the water was first brought to
 the attention of the witness, it was approximately one step below the front porch
 (P 46 Line 9). Shortly thereafter, the water entered the house. After the water
 entered the house, the occupants broke their way into the attic, where they
 stayed for some time. The witness states that he broke through the gable with a
 wrench, a process he estimates took three to four hours. Mr. Anderson states
 that he did hear a long booming noise at some point before noticing the water (P
 61 Line 6), but he does not know exactly when. After climbing on the roof, the




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 witness testifies that he could see the barge on Jourdan Ave. to the north (P 58
 Line 17).

 Analysis:

 Dawn on 29 August occurred at 0636 (6:36 AM). If the water was first noticed
 slightly before this time, and it took three to four hours between climbing in the
 attic and breaking through the gable, it would have been between approximately
 0930 and 1030 (9:30 to 10:30 AM). At this time, it is likely that the barge could
 have been in the Lower Ninth Ward, so it is possible that it could have been seen
 from the roof of Mr. Anderson’s home. Like many other witnesses that lived near
 floodwall failures, Mr. Anderson heard a boom.

 Testimony of Mr. Michael Anthony Bickham:

 The witness lived on Deslonde St. between N. Roman and N. Prieur St. The
 house was a two-story fourplex (the same building where Carolyn Berryhill lived).
 Mr. Bickham lived on the second floor. Sometime early in the morning, the
 witness tool a walk a block down Deslonde St. and noticed:

       The water coming over the levee. The wind had already got the
       water where it was high on the levee – on the Industrial Canal.

                                                                    (P 56 Line 10).

 Mr. Bickham then returned to his residence. A few minutes later Mr. Bickham
 heard what he thought was a transformer blowing and a noise that he thought
 sounded like something dragging, then he heard a car’s horn going off outside
 his house. When he investigated this sound, the witness noticed that the streets
 were flooded (P 57 Line 14). Mr. Bickham reported that the water was rising
 rapidly, and within a few minutes the water was almost to the second floor of the
 house. All occupants of the house then climbed into the attic. Shortly after
 entering the attic the house moved off of its foundation and collapsed. All the
 occupants of the house then climbed into a tree and awaited rescue. The
 witness testifies that he never saw the barge during the storm (P 78 Line 10),
 only seeing it later on TV (P 81 Line 10).

 Analysis:

 It is possible that the noises heard before the car’s horn went off were the
 floodwall failing. The house was located directly in front of the south breach, and
 this breach is what would have caused the house to have been destroyed. It is
 not known if any of the initial water came from the north breach. Mr. Bickham
 was stranded in the same tree as Carolyn Berryhill, but unlike Ms. Berryhill Mr.
 Bickham did not see the barge.




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 Testimony of Ms. Chantell Lynn Doss:

 The witness lived on N. Miro St. between Jourdan Ave. and Deslonde St. The
 house was located on the north side of N. Miro St. and was a raised one story.
 During the hurricane, the witness evacuated to an assisted living facility on St.
 Maurice Ave. near the river levee. The witness was staying on the third floor of
 the building. At sometime in the late morning Ms. Doss heard a loud explosion-
 like boom and felt the building shake (P 34 Line 6). The witness thinks that the
 explosion came from the direction of Claiborne Ave (P 35 Line 21). Within a few
 minutes of hearing the boom water started to flood the streets (P 34 Line 8). The
 water came from the north (P 38 Line 11).

 Analysis:

 Ms. Doss’ accounts are similar to others living to the south of Claiborne Ave.
 Being located relatively far south and on higher ground, the flood waters reached
 that area at a later time than the area between N. Claiborne Ave. and Florida
 Ave.

 Testimony of Ernest Joseph Offray

 The witness lived on Deslonde St. between N. Johnson and Galvez St. The
 house faced away from the IHNC. At about 0430 (4:30 AM), the witness traveled
 with his father to Surekote Rd. to see how far the water in the canal had risen.
 Mr. Offray reported that the water had reached Surekote Road itself (P 33 Line
 2). After observing the water on Surekote Road, Mr. Offray and his father, Ernest
 Edwards, towed Mr. Edward’s boat to the Claiborne Ave. Bridge. Mr. Offray
 reports “The water didn’t start coming over the walls until almost daylight time” (P
 35 Line 21). While on the Claiborne Bridge, the witness reports hearing “like a
 big old explosion” (P 35 Line 23), which he attributes to the barge impacting the
 floodwall, even though he admits that he did not see the barge until the next day
 (P 36 Line 17). The truck the witness was staying in had to be moved up the
 bridge because water was rising on the bridge approach after hearing the
 explosion. (P 40 Line 23). While on the bridge near Deslonde St., Mr. Offray
 testifies that the conditions prevented him from seeing his house (P 47 Line 20).
 He also testifies that while helping rescued people onto the bridge, he first
 noticed overtopping (P48 Line 8). He only saw the barge later in the morning
 when it was on Jourdan Ave. (P 49 Line 9).

 Analysis:

 Mr. Offray delivers somewhat different testimony than his father, Ernest Edwards.
 Unlike his father, Mr. Offray testifies that overtopping was not occurring when the
 men were on the Claiborne Ave. Bridge (although he still reports it occurring
 before daylight), and when going to Surekote Rd, the water was not quite up to




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 the base of the floodwall. Like his father, Mr. Offray did not see the barge until
 later in the morning while performing rescues.




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                             Appendix J

                               Glossary
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 GLOSSARY

 ADCIRC – Advanced Circulation Computer Model

 ACI – American Concrete Institute

 Aggregate – a component of a composite material used to resist compressive
 stress

 AHP – Above Head of Passes

 Airdraft – The distance from the water line to the highest point on a vessel

 Apron – Pavement placed on the land side of a levee or floodwall to protect from
 erosion during overtopping

 ASCE – American Society of Civil Engineers

 ASL – Above Sea Level

 Athwartship – Across a ship from side to side, at right angles to the fore-aft line of
 a vessel,

 Bascule Bridge – A moveable bridge with a counterweight that balances the span
 throughout the entire upward swing in providing clearance for boat traffic

 Benchmark – A point of reference for a measurement

 Berm – A mound of soil. A levee is a type of berm.

 Bollard – A cylindrical mooring fitting usually located on a dock

 Batture – A strip of land located on the flood side of a levee

 Button – A cylindrical mooring fitting usually placed on a vessel

 Buy-Ballot’s Law – A method for determining the location of the center of a
 hurricane based on the wind direction

 CDT – Central Daylight Savings Time

 Centroid – The geometric center of the object'
                                              s shape

 Circular Failure Arc – Semicircular shear plane

 Clay – A cohesive soil material with grains smaller than 0.002 millimeters in
 diameter.

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 Cleat – A long, low-profile mooring fitting found on both docks and vessels.

 Coaming – A raised rim or border around an opening

 Coefficient of Friction – A dimensionless scalar value which describes the ratio of
 the force of friction to the normal force between two bodies.

 Cohesion – The intermolecular attraction by which the elements of a body are
 held together

 Coriolis Effect – The apparent effect of fluids moving northward in the northern
 hemisphere to curve to the east, caused by the rotation of the earth, and
 conversely, southward flow in southern latitudes to curve to the east

 Cyclonic – A characteristic of the atmosphere around a low pressure center

 Diurnal – A tide having a period of approximately one day

 Dock Board – Board of commissioners of the port of New Orleans

 Eyewall – The boundary of the eye of a hurricane

 Faubourg – Suburb

 Fender System – A device to minimize rubbing between a boat and the dock

 Fill – Soil added to an area

 Floodwall – A wall constructed to serve the same purpose as a levee but requires
 less right of way.

 Floodwall Gap – A narrow crevasse created between a floodwall and the water
 side soil embankment caused by hydrostatic pressure pushing on the floodwall.

 FPS – Feet per second

 Gapping Theory – The creation of a narrow void between the floodwall and the
 water side levee embankment

 Geostrophic Wind – A theoretical wind that is directed exactly parallel to isobars

 GIWW – Gulf Intracoastal Waterway

 GPS – Global Positioning System




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 Heel – The tilt of a boat to one side caused by the pressure of wind or unevenly
 distributed weight

 High Plasticity Clay – A cohesive soil that behaves plastically over a wide range
 of moisture contents

 Hopper barge – An unpowered vessel that carries bulk, non-liquid cargoes

 HPS – Hurricane Protection System

 Hurricane – A strong tropical or subtropical storm with sustained winds greater
 than 64 miles per hour.

 HWM – High Water Mark

 Hydrology – A science to study of the movement, distribution, and quality of
 water throughout the Earth.

 IHNC – Inner Harbor Navigation Canal

 ILIT – Independent Levee Investigation Team

 IPET – Interagency Performance Evaluation Taskforce

 Isobar – a line on a weather map connecting areas of equal barometric pressure

 IWS – Intracoastal Waterway System

 K – Spring constant – A force constant, which relates the force exerted by a
 spring to the distance which it is stretched or compressed.

 Ke – Kinetic Energy – Energy possesses by an object due to its motion

 Kinematic Viscosity – The ratio of viscous force in a liquid to the inertial force

 Kip – Kilo pound, 1000 lbs

 Knot (kt) – One nautical mile per hour, approximately 1.15 miles per hour

 Leeward – Opposite of windward, sheltered from the wind

 Levee – An embankment intended to keep floodwaters out of a developed area

 LMSL – Local Mean Sea Level

 LNA – Lafarge North America, Inc.



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 LNW – Lower Ninth Ward

 Lockmaster – A the person in charge of operating a navigation lock

 LSU – Louisiana State University

 Marsh – Soil containing a large percentage of organic matter

 Mbar – Millibar, a unit for measuring atmospheric pressure, 1/1000th of a bar.

 Meter (m) – Approximately 3.28 feet.

 MLLW – Mean Lower Low Water

 MLW – Mean Low Water

 Moment Arm – The distance a force acts from a point of rotation

 Moment of Inertia – A measure of an object'
                                           s resistance to changes in
 its rotation rate

 MRGO – Mississippi River Gulf Outlet

 MSL – Mean Sea Level

 NAE – National Academy of Engineering

 NAS – National Academy of Science

 Nautical Mile – 6080 feet or 1.15 statute miles

 NAVD – North American Vertical Datum

 Newton – The unit of force derived in the SI system

 NGS – National Geodectic Survey

 NGVD – National Geodectic Vertical Datum

 NHC – National Hurricane Center

 NOAA – National Oceanic and Atmospheric Administration

 NOS – National Ocean Service

 NRC – National Research Council



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 NSF – National Science Foundation

 NTDE – National Tidal Datum Epoch

 OWI – Ocean Weather, Inc.

 Parish – Louisiana term for county

 Percolating Water – Water that passes through rocks or soil under the force of
 gravity

 Percolation – The slow seepage of water into and through porous media

 Pervious – Able to be penetrated; permeable

 Piping Erosion – A subsurface form of erosion which involves the removal of
 subsurface soils in pipe-like erosional channels to a free or escape exit

 Polder – An area of land with depressed elevations surrounded by levees

 PSF – A pressure unit, pounds per square foot

 Rebar – Steel bars embedded in concrete to give it strength in tension and
 bending

 Riprap – Rubble consisting of large stones or broken concrete used to protect a
 slope or channel against erosion

 Scour – Erosion caused by fast flowing water

 Scour Pad – A pad of non-erosive material designed to prevent scour holes

 Silt – A fine non-cohesive soil with grain size smaller than sand but larger than
 clay

 Slug – A unit of mass associated with Imperial units

 Shear – Parallel internal surfaces sliding past one another

 Sheetpile – A type of retaining wall consisting of steel sheets or concrete planks
 driven into the soil

 SNAME – Society of Naval Architects and Marine Engineering

 SPH – Standard Project Hurricane




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 Stringer – A thin strip of wood or metal for strengthening the surface that is
 attached

 Subsidence – Motion of a surface as it shifts downward

 Surge – The piling up of water caused by a hurricane or other storm.

 Transom – Flat portion of the end of a ship or barge

 Turn of the bilge – The point where the bottom and the sides of a ship join

 Underseepage – Seepage beneath a levee

 USACE – United States Army Corp of Engineers

 USGS – United States Geological Survey

 UTC – Universal Coordinated Time, formerly known as Greenwich Mean Time
 (GMT)

 WST – Waterway Simulation Technology

   – Greek letter delta, used to denote change

   – Greek letter sigma, used to denote stress




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                             Appendix K

                      Additional Photographs
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                             Appendix L

           C.R. Cushing C.V. and Corporate Resume
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                            CHARLES R. CUSHING, Ph.D., P.E.

Employer:       C. R. Cushing & Co., Inc.
                Naval Architects, Marine Engineers & Transportation Consultants
                30 Vesey Street, 7th Floor
                New York, New York 10007

Position:       President

Education:      U. S. Merchant Marine Academy, B.S. (Marine Transportation) 1956
                Massachusetts Institute of Technology, B.S. (Naval Architecture and Marine
                   Engineering) 1960
                State University of New York, M.S., (Ocean Transportation) 1972
                University of Wales, Cardiff University, Ph.D. (Maritime Studies), 1997

Experience:

From its formation in 1968, Dr. Cushing has been President of C. R. Cushing & Co., Inc., a firm of naval
architects, marine engineers and transportation consultants with offices in New York. He has been
responsible for the design, construction and/or conversion of over 250 ocean-going vessels in most major
shipyards in the U.S., Europe and the Far East. He has personally carried out and/or directed the concept,
preliminary and contract design, strategic planning, plan approval and supervision of construction of
tankers, tank barges, containerships, LNG ships, tugs, bulk carriers, roll-on/roll-off vessels, offshore pipe
laying vessels, jacket delivery barges, passenger ships, and other types of vessels. His work has included
new construction, conversion, repair and refurbishment of vessels. Dr. Cushing has been directly
responsible for risk analyses, safety audits, energy audits and the preparation of the U.S.C.G.
Tankerman's Manual, studies on corrosion, vessel maintenance, manning, safety, collision avoidance,
pollution prevention, navigation, coatings, automation, pumping, noise, vibration, hydrodynamics, air
quality, and similar, and has been responsible for port and terminal projects, economic analyses, material
handling studies, marine operation and maintenance studies, automation studies, planned maintenance and
repair systems, and numerous other projects in the marine field. He has been responsible for the design of
numerous types of intermodal shipping containers and purchase, inspection, and testing of containers,
container refrigeration equipment, container chassis, and container handling equipment.

From 1961 to 1968, Dr. Cushing was the Chief Naval Architect at Sea-Land Service, Inc. and was
responsible for the development of cranes, cargo handling systems, and the design and conversion of
some 45 containerships.

Dr. Cushing holds a number of patents in maritime and intermodal technology.

Prior to his graduation from MIT, he sailed as a cadet and a licensed deck officer on a number of U.S.-
flag general cargo and passenger vessels, and has been involved in cargo handling operations in the
United States, South America, Southeast Asia, Australia, New Zealand, the Far East, Middle East, Africa,
and Europe.
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Professional Associations:

American Bureau of Shipping, Naval Architecture Committee, Past Member,
American Bureau of Shipping, Committee on Cargo Containers, Past Member
American National Standards Institute MH5 Committee, Member
American Society of Heating, Ventilation and Air Conditioning Engineers, Member, No. 3031973
American Society of Mechanical Engineers, Fellow, No. 261040
American Society of Naval Engineers, Naval Member, No. 00549
Charter Engineer, U.K., Engineering Council No. 152957
Chemical Transportation Advisory Board, Past Member
Chemical Trans. Advisory Board Subcommittee on Bulk Terminals/Tank Vessels, Past Member
EuroEngineer, European Union
Global Maritime and Transportation School (GMATS), Member, Board of Directors
Institute of Marine Engineering Science and Technology, Fellow
Instituto Pan Americano de Ingenieria Naval, Member IM-605
International Cargo Handling and Coordination Association, Member
International Standards Organization, TC-104, Past U.S. Delegate
Japan Society of Naval Architects and Ocean Engineers, Member
Korean Society of Naval Architects, Member
Professional Engineer, State of Mississippi, Reg. No. 03537
Lloyds Register of Shipping, U.S. Committee Past Chairman; Technical Committee, Past Chairman
Marine Board, Member, 2004 to date
Maritime Resource Center, Past Chairman
MIT Club of New York, Member
National Academy of Engineering – Elected 2004
National Academy of Sciences - NRC, Ship Structures Committee, Past Member
National Fire Protection Association, Member No. 105205
National Shipbuilding Research Program, Blue Ribbon Panel Member
National Safety Council, Member
New York City Port Council, Past Member
New York Yacht Club, Member
North East Coast Institution of Engineers and Shipbuilders, Past Member
Nautical Institute, Member No. 98 12550
Royal Institute of Naval Architects, Fellow
Royal Institute of Navigation, Member
Society of Maritime Arbitrators, Member
Society of Naval Architects and Marine Engineers, Life Member, Fellow, No. 1080010
SNAME Fellows Committee, past Chairman
SNAME Finance Committee, Member
SNAME Ship Technical Operating Committee, Member
Sperry Board of Awards, Chairman 1991/1992
State University of New York (Maritime College), Engineering Advisory Committee, Member
U.S.C.G., SOLAS Working Group on Container Safety - Member and past U.S. Delegate
U.S. Merchant Marine Academy, Trustee 2005 to date
U.S. Merchant Marine Academy Alumni Assn., President, 1986-1990
U.S. Merchant Marine Academy, Engineering Advisory Board, Member
U.S. Merchant Marine Academy Foundation, Chairman, 1982-1986
Webb Institute (Naval Architecture), Board Member; Fellow; Executive Committee; Finance Committee; Chairman;
Audit Committee; Planning Committee
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Awards:

The Admiral E.S. Land Medal for Excellence in Naval Architecture, USMMA, 1956
The Marine Man-of-the-Year, 1970, USMMA/SNAME
The Alumnus-of-the-Year, 1991, USMMA
The International Maritime Hall of Fame, 2000
The Admiral E.S. Land Medal for Outstanding Contributions in the Marine Field, SNAME, 2000

Other Professional Activities:

•    Authored numerous publications for professional societies, trade publications and industry
     conferences. Chapters in SNAME’s Ship Design and 1993 Historical Transactions.

•    Visiting Professor at World Maritime University in Malmo, Sweden and Dalian, China in The Ship
     Acquisition Process and Maritime Accident Investigation, 1987 to date.

•    Lecturer at Massachusetts Institute of Technology, Webb Institute, University of Michigan, USMMA,
     Industrial College of the Armed Forces, MEBA, GMATS, and elsewhere.

•    Serves as a director, officer or committee member of numerous educational, professional and industry
     organizations.

•    Chairman, founder and principal shareholder in Oiltest, Inc.

•    U.S. Naval Reserve, 30 years, retired 1982.

•    Member National Academy of Engineering, elected 2004.
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                             Appendix M

          C.R. Cushing Testimony in the Last 4 Years
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                        Testimony Given Last Four Years
                        By Charles R. Cushing Ph.D., P.E.

PROJECT No. 2988
Name of Project: Walsworth, Franklin – Westbrook Asbestos
Date: July 6, 2009
Client: Walsworth, Franklin - Deposition

PROJECT No. 2964
Name of Project: Sedgwick, Detert – Niebauer Asbestos
Date: June 11, 2009
Client: Sedgwick, Detert - Deposition

PROJECT No. 2640
Name of Project: Gardner Bond – Lenz Asbestos
Date: 31 March 2009
Client: Gardner, Bond, Trabolsi, St. Louis & Clement – Deposition Testimony

PROJECT No. 2895
Name of Project: Wilcox & Savage – Leigh Asbestos
Date: 5 March 2009
Client: Wilcox & Savage – Deposition Testimony

PROJECT No. 2918
Name of Project: - Gordon & Rees – Crull Asbestos
Date: 3 March 2009
Client: Gordon & Rees – Deposition Testimony

PROJECT No. 2681
Name of Project: - Mound, Cotton – Fortier Asbestos
Date: 12 February 2009
Client: Mound, Cotton, Wollan & Greengrass – Deposition Testimony

PROJECT No. 2737
Name of Project: - DeHay & Elliston – Garcia Asbestos
Date: 14 October 2008
Client: DeHay & Ellison – Deposition Testimony

PROJECT No. 2755
Name of Project: Wilcox & Savage – Morton Asbestos
Date: 25 September 2008
Client: Wilcox & Savage – Deposition Testimony

PROJECT No. 2842
Name of Project: Sidley Austin – Cohen Asbestos
Date: 15 August 2008
Client: Sidley Austin LLP – Deposition
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PROJECT No. 2692
Name of Project: Thompson Hine – Jackson Asbestos
Date: 25 June 2008
Client: Thompson, Hine & Flory LLP – Deposition and Testimony

PROJECT No. 2609
Name of Project: Freehill, Hogan – Rofail P.I.
Date: 23 June 2008
Client: Freehill, Hogan & Mahar LLP – Deposition and Testimony

PROJECT No. 2735
Name of Project: Filice Brown – Weber Asbestos
Date: 8 April 2008
Client: Filice Brown Essa & McLeod LLP - Deposition

PROJECT No. 2669
Name of Project: Holland & Knight – Crane Barge OVUS 1
Date: 28 March 2008 – Deposition - 24 April 2008 – Testimony
Client: Holland & Knight – Deposition Testimony

PROJECT No. 2411
Name of Project: Holland & Knight – M/T PRESTIGE
Date: 26 - 27 November 2007
Client: Holland & Knight – Deposition Testimony

PROJECT No. 2692
Name of Project – Jackson Hine - Jackson Asbestos
Date: 30 August 2007
Client: Jackson Hine LLP – Deposition Testimony

PROJECT No. 2674
Name of Project – Migliori - Ochs Asbestos
Date: 5 January 2007
Client: Donald Migliori, Esq. – Deposition Testimony

PROJECT No. 2655
Name of Project – Foley & Mansfield – Bridges Asbestos
Date: 7 November 2006
Client: Foley & Mansfield P.L.L.P. – Deposition Testimony

PROJECT No. 2611
Name of Project – Foley & Mansfield – McNamara Asbestos
Date: 13 June 2006
Client: Foley & Mansfield P.L.L.P. – Deposition Testimony

PROJECT No. 2592
Name of Project – Armstrong & Associates - Stroker Asbestos
Date: 30 January 2006
Client: Armstrong & Associates – Deposition Testimony
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PROJECT No. 2585
Name of Project – Bailey Crowe - Riggle Asbestos
Date: 13 December 2005
Client: Bailey Crowe & Kruger, LLP – Deposition Testimony

PROJECT No. 2593
Name of Project – Mound, Cotton - Rowan Asbestos
Date: 2 December 2005
Client: Mound, Cotton, Wollan & Greengrass – Deposition Testimony

PROJECT No. 2568
Name of Project – Armstrong & Associates - Goias Asbestos
Date: 31 August 2005
Client: Armstrong & Associates – Deposition Testimony
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                             Appendix N

        C.R. Cushing Publications in the Last 10 Years
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                      Publications by C.R. Cushing in Past Ten Years


1.   Cushing, C.R., The Ship Acquisition Process, Chapter 3, Ship Design, Volume 1, SNAME,
     2003.

2.   Cushing, C.R., Globalization – Fair Winds or Storm Warnings, a presentation to the
     Maritime and Transportation Groups of Holland and Knight, Atlanta, September 22, 2000.

3.   Cushing, C.R., Containerization, The Next 30 Years, Port Days Conference, Halifax,
     September 1999.
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                             Appendix O

            C.R. Cushing & Co., Inc. Compensation
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                           C.R. CUSHING & CO., INC.
            Naval Architects, Marine Engineers & Transportation Consultants

                                    BILLING RATES

Dr. Cushing is compensated $290 per hour for his time.
